                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form

                  National Association For Gun
Case Title:                                          Case Number: 22-cv-04774
                  Rights, and Susan Karen Goldman
                  v. City of Highland Park, Illinois
An appearance is hereby filed by the undersigned as attorney for:
Amicus Curiae, March For Our Lives Foundation
Attorney name (type or print): Jordan E. Wilkow

Firm: Tabet DiVito & Rothstein LLC

Street address: 209 South LaSalle Street, 7th Floor

City/State/Zip: Chicago, IL 60604

Bar ID Number: 6310490                                     Telephone Number: 312.762-9450
(See item 3 in instructions)

Email Address: jwilkow@tdrlaw.com

Are you acting as lead counsel in this case?                                         Yes       ✔ No
Are you acting as local counsel in this case?                                   ✔ Yes              No

Are you a member of the court’s trial bar?                                           Yes       ✔ No
If this case reaches trial, will you act as the trial attorney?                      Yes       ✔ No
If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this &ourt an attorney must either be a member in good standing of this &ourt’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 8.6.&§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on January 26, 2023

Attorney signature:            S/ Jordan E. Wilkow
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
